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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA                                      SUPERSEDING
                                                             INFORMATION
             V.
                                                 Case No.           20-cr-010-jdp
DAVID M. KRUCHTEN,                                             18 U.S.C. § 1466A
                                                               18 U.S.C. § 2423(b)
                            Defendant.



THE UNITED STATES ATTORNEY CHARGES:

                                         COUNTl

      Between on or about October 29, 2018 and on or about December 6, 2019, in the

Western District of Wisconsin, the defendant,

                                DAVID M. KRUCHTEN,

knowingly attempted to produce visual depictions, that is video files, that depict

minors engaging in sexually explicit conduct and is obscene, using materials that had

previously been transported in interstate and foreign commerce, specifically hidden

recording devices.

      (In violation of Title 18, United States Code, Section 1466A).

                                         COUNT2

      On or about December 6, 2019, in the Western District of Wisconsin and

elsewhere, the defendant,

                                DAVID M. KRUCHTEN,
       Case: 3:20-cr-00010-jdp Document #: 64 Filed: 07/12/21 Page 2 of 2




traveled in interstate commerce with a motivating purpose of engaging in illicit sexual

conduct with another person, specifically, production of child pornography.

       (In violation of Title 18, United States Code, Section 2423(b)).




Date




                                             2
